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                              UNITED STATES DISTRICT COURT
                                   Western District of Virginia
Julia C. Dudley                     OFFICE OF THE CLERK                             (540) 857-5100
    Clerk                      210 Franklin Road, SW, Room 540
                                    Roanoke, Virginia 24011
                                       February 22, 2021

To all counsel by email through Electronic Noticing

Re:    Gabriela Vasquez v. Greene County School Board, Civil Action No. 3:20-cv-00073

Dear Counsel:
        This case has been assigned to Judge Glen E. Conrad. The judge has requested that I be in
touch with the parties to determine a trial date approximately nine-ten months out, unless an earlier
date is requested by the parties.

        For the trial date, please confer among yourselves regarding how many days you think
we’ll need for trial and your availability for the following dates for a jury trial in Charlottesville:

January 4-7, 2022
February 14-18, 2022
February 28-March 4, 2022
March 7-8, 2022 or
Weeks of March 14, 21, or April 4, 2022.

       If no response is received, we will assume that any dates chosen in these time frames will
be acceptable, and a scheduling order will issue within approximately 10 days. If a later time frame
is needed, please advise.

        Based on the trial date that is chosen, a pretrial order shall be entered establishing pretrial
deadlines and making other provisions for the development of this case. Further, hearings on
dispositive motions, such as motions to dismiss or for summary judgment, as well as motions
regarding the admissibility of evidence, shall also be scheduled at least thirty days prior to trial.
To schedule any hearings, please email me at susanm@vawd.uscourts.gov, or call (540) 857-5119.

         The court wants all discovery completed and pretrial motions filed within forty-five (45)
days of the trial date. All interrogatories and requests for documents should therefore be served in
enough time to give the opposing party time to respond prior to the forty-five (45) days deadline.
Hearings regarding dispositive pretrial motions must be held no later than thirty (30) days prior to
trial, except with the prior approval of the presiding judge.

        Judge Conrad actively promotes alternative dispute resolution in most civil cases.
Generally, the parties may opt to initiate mediation, or some other form of alternative dispute
resolution, prior to the completion of discovery. The court may initiate mediation shortly before,
or shortly following, the scheduled completion of discovery.
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        For more information on mediation, ECF registration, and/or other local rules, the parties
are referred to http://www.vawd.uscourts.gov, the public website of the Clerk’s Office.

       If you feel that the pretrial order in this case should include special provisions, please
contact me by email at susanm@vawd.uscourts.gov or telephone at (540) 857-5119. (Right now
w/ working from home – email is best!)

                                                    Very truly yours,

                                                    Susan Moody
                                                    Deputy Clerk
